                            THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION


MICHAEL DAVID SILLS          )
and MARY SILLS,              )
                             )
         Plaintiffs,         )
                             )                          CASE NO. 3:23-cv-00478
v.                           )
                             )                          JUDGE WILLIAM L. CAMPBELL, JR.
                             )                          Magistrate Judge Chip Frensley
SOUTHERN BAPTIST CONVENTION, )
et al.                       )                          JURY TRIAL DEMANDED
                             )
         Defendants.         )



           JOINT MOTION OF THE EXECUTIVE COMMITTEE OF THE
      SOUTHERN BAPTIST CONVENTION, ROLLAND SLADE, ED LITTON, BART
     BARBER, WILLIE MCLAURIN, AND THE SOUTHERN BAPTIST CONVENTION
               TO AMEND THEIR ANSWERS TO THE COMPLAINT

        The Executive Committee of the Southern Baptist Convention, Rolland Slade, Ed Litton,

Bart Barber, Willie McLaurin, and the Southern Baptist Convention (collectively the “Movants”),

by counsel, pursuant to Rules 15 and 16 of the Federal Rules of Civil Procedure, respectfully

requests leave to file Amended Answers in this matter. In support of this Motion, the Movants

state as follows:

I.      BACKGROUND.

        1.          On May 11, 2023, the Complaint was filed in this action.

        2.          Plaintiff Michael David Sills brought this action against the Movants and other

defendants, alleging that they published untrue claims that he had sexually abused Jennifer Lyell.

[Doc. 1 at p.3]. The Complaint asserts causes of action for (1) defamation, (2) conspiracy, (3)

negligence, gross negligence, and wantonness, and (4) intentional infliction of emotional distress.



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        3.          Joining Mr. Sills as a party plaintiff is his wife, Mary Sills. The Complaint was

largely devoid of any allegations with respect to the basis for Mary Sills’ claims.

        4.          In their motions to dismiss, the defendants, including the Movants, raised how the

Complaint contained no unique allegations on behalf of Mary Sills, i.e., the Complaint does not

identify the alleged false and defamatory statements made concerning her. [See Doc. 87 at pp.22-

23].

        5.          On March 8, 2024, the Court entered its Memorandum Opinion regarding the

defendants’ various motions to dismiss. While the Court denied the motions to dismiss with

respect to Mary Sills, it acknowledged that “the complaint is admittedly thin on factual allegations

concerning Mrs. Sills.” [Doc. 134 at p.32].

        6.          Movants were not able to depose Mary Sills until October 2024. It was not until

Mrs. Sills was deposed that defendants were able to learn which statements Mrs. Sills contended

were directed to her and which formed the basis for her independent causes of action.

        7.          Specifically, according to Mrs. Sills, the basis for her claims is that in 2022, then

SBC President, Bart Barber, retweeted a post made by Eric Geiger on X, formerly known as

Twitter. [Tr. of Depo. M. Sills 99:17-104:4, Exhibit 1].

        8.          Because Mary Sills has now identified Mr. Barber’s retweet on X as the basis for

her claims, this brings into play the defense of immunity / preemption under Section 230 of the

Communications Decency Act (“CDA”).

        9.             Accordingly, the Movants seek leave to amend their previously filed Answers

to assert the defense of immunity / preemption under Section 230 of the CDA. A copy of the

proposed Amended Answers are attached as Exhibits 2-7.




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        10.         As set forth below, good cause exists for this amendment and the leave should be

granted.

II.     ARGUMENT

        1.          In considering a motion to amend, two rules can be at play.

        2.          Rule 15(a) of the Federal Rules of Civil Procedure governs amendments to

pleadings. See Fed. R. Civ. P. 15(a)(2) (2025). Next, Rule 16(b) governs the entry of scheduling

orders and provides that “[a] schedule may be modified only for good cause and with the judge’s

consent.” Fed. R. Civ. P. 16(b)(4).

        3.          In cases where a scheduling order has been issues and the deadline for amendments

to pleadings have passed, the requirements of both Rule 16(b) and Rule 15(a) must be met.

See Leary v. Daeschner, 349 F.3d 888, 909 (6th Cir. 2003).

        4.          “The primary measure of Rule 16's ‘good cause’ standard is the moving party’s

diligence in attempting to meet the case management order’s requirements.” Briggs v. Vincent-

Bushon, No. 3:17-0669, 2018 WL 4261174, at *3 (M.D. Tenn. July 18, 2018) (quotations and

citation omitted). “Another relevant consideration is possible prejudice to the party opposing the

modification.” Id. (quotations and citation omitted).

        5.          Similarly, and along those lines, “if a party is delayed in discovering the basis

for amending its pleadings due to circumstances beyond its control, it may use that delay as a basis

for arguing that a Rule 16(b) order deadline should be extended.” U.S. ex rel. Martin Marietta

Materials, Inc. v. Nelson, Inc., 286 F.R.D. 327, 330 (W.D. Tenn. 2012) (quotations and citation

omitted).

        6.          In this case, good cause under Rule 16(b) exists.       The Court’s Initial Case

Management Order was entered on August 17, 2023. It provided that motions to amend should be



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filed by November 30, 2023. [Doc. 99 at p.5].1 Given the paucity of the allegations in the

Complaint on behalf of Mary Sills, which the Court has itself referred to as “thin,” it was not

possible for the Movants to tell from the pleading what statements were the basis for Mrs. Sills’

claims and, in turn, not possible to determine whether the statements that were the subject of her

claims could involve Section 230 of the CDA.

         7.         The Complaint makes no mention of the retweet by Bart Barber and, again, it was

not until the deposition of Mary Sills in late 2024, almost a year after the amendment deadline had

passed, that she made clear that Mr. Barber’s retweet was the basis of her claims.

         8.         There is likewise no prejudice to Plaintiffs. As the Court is aware, discovery

deadlines have been moved twice, most recently in February 2025, and trial is not set until

February 10, 2026. The amendment is for the sole purpose of adding a purely legal defense and

will not require any additional discovery.

         9.         There being “good cause” under Rule 16(b), then the standard of Rule 15(a) is also

clearly satisfied. It provides that a “court should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a). It “embodies a liberal policy of permitting amendments to ensure

the determination of claims on their merits.” Sumeru Health Care Group, L.C. v. Hutchens, No.

3:02-CV-447, 2005 WL 8162551, at *1 (E.D. Tenn. May 11, 2005). The ECSBC’s proposed

Amended Answer will do just that.

         10.        The Movants have conferred with the other parties regarding their proposed

amendments. The other defendants have no objection to this Motion. Plaintiffs have stated that

they opposed the amendment.



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        A Stipulated Amended Case Management Order was entered on May 20, 2024, but it
regurgitated the already-passed November 30, 2023 deadline for amendments to pleadings. [Doc.
170 at p.4].

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        WHEREFORE, the Movants respectfully requests that this Motion to Amend be granted

and the proposed Amended Answers attached as Exhibits 2-7 be deemed as filed.

                                                 Respectfully submitted,

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                               CERTIF1CATE OF SERVICE

I hereby ce1tify that on this 17th day of March, I filed the foregoing Joint Motion of the
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